                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                              No. 7:14-cv-00237-BR

BEN ARTIS, et al.                            )
                                             )
       Plaintiffs,                           )
                                             )
v.                                           )
                                             )
MURPHY-BROWN, LLC,                           )
                                             )
       Defendant.                            )

                                        ORDER

       The Court has reviewed the parties' jointly proposed schedule for pretrial deadlines for

the third trial group. The Court notes that the proposed due dates harmonize with those set forth

in the Court's Order dated February 16, 2018 (Doc. 51).

       The Court finds that good cause is shown and allows the motion, and instructs the parties

to comply with the following schedule to govern the second trial group:

           a. Monday, May 21, 2018: parties to serve pretrial disclosures under Fed. R. Civ. P.
              26(a)(3) and Local Civil Rule 16.l.
           b. Monday, May 28, 2018: parties to serve objections to pretrial disclosures; file any
              Daubert challenges or other motions to exclude expert testimony.
           c. Thursday, May 31, 2018: pretrial order is due (Order, Doc. 51).
           d. Monday, June 4, 2018: parties to file responses to Daubert challenges or other
              motions to exclude expert testimony
           e. Wednesday, June 6, 2018: parties to file motions in limine on evidentiary matters.
           f. Thursday, June 7, 2018: parties to file proposed jury instructions.
           g. Thursday, June 7, 2018: final pretrial conference (Order, Doc. 51).
           h. Monday, June 11, 2018: trial briefs and proposed voir dire; and any responses to
              motions in limine.
           i. Monday, June 18, 2018: Trial (Order, Doc. 51).


       SO ORDERED this 14th day of May, 2018




                                       Rob~B~
                                       United States Magistrate Judge



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